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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,§
                              §
     Plaintiff,               §
                              §
VS.                           §                    CIVIL ACTION NO. 5:18-cv-00186
                              §
BART REAGOR AND RICK DYKES,   §                           (Jury Trial Demanded)
                              §
     Defendants.              §

                  NOTICE OF WITHDRAWAL OF RICK DYKES
                      FROM RESPONSE AND BRIEF TO
               PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE SAM R. CUMMINGS,
UNITED STATES DISTRICT JUDGE:

       Rick Dykes, defendant in the above-captioned proceeding, files this Notice of

Withdrawal from Response and Brief to Plaintiff’s Motion for Summary Judgment.

       1.     Mr. Dykes and Plaintiff Ford Motor Credit Company, LLC (“Ford Credit”) have

reached a settlement under which Mr. Dykes granted Ford Credit a consent judgment in this

civil action (Dkt #46).

       2.     Prior to the settlement, Mr. Dykes was a party to the Defendants’ Response and

Brief to Plaintiff’s Motion for Summary Judgment (Dkt # 40). As a result of the settlement, Mr.

Dykes withdraws (i) from Defendants’ Response and Brief to Plaintiff’s Motion for Summary

Judgment, and (ii) his affidavit in support of Defendants’ Response and Brief to Plaintiff’s

Motion for Summary Judgment (exhibit 5, dkt # 41).




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                                            Respectfully submitted,

                                             /s/ Tom Kirkendall
                                            Tom Kirkendall
                                            State Bar No. 11517300
                                            LAW OFFICE OF TOM KIRKENDALL
                                            2 Violetta Ct
                                            The Woodlands, Texas 77381-4550
                                            281.364.9946
                                            888.582.0646 (fax)
                                            bigtkirk@kir.com (email)

                                            ATTORNEY-IN-CHARGE FOR
                                            RICK DYKES, DEFENDANT



                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument, was served on
respective counsel for the other parties to this civil action via electronic transmission via the
Court’s ECF system on the 4th day of April, 2019.


                                                     /s/ Tom Kirkendall
                                                    Tom Kirkendall




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